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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

TOMMY J. SCHUETTE,
         Plaintiff,                            Case No. 18-10497

vs                                             Hon. Linda V. Parker

STEVEN P. RAND, in his individual
and official capacities, and
JACKSON COUNTY,
              Defendants.
________________________________________________________________
 James K. Fett (P39461)           Bonnie G. Toskey (P30601)
 FETT & FIELDS, P.C.              Sarah K. Osburn (P55539)
 Attorney for Plaintiff           COHL, STOKER & TOSKEY, P.C.
                     nd
 407 N. Main St., 2 Floor         Attorneys for Defendant Jackson Co.
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                  STIPULATION AND ORDER TO DISMISS

      NOW COME the parties through their respective Attorneys and hereby

stipulate and agree to dismiss the Complaint filed by Plaintiff against Defendants

Steven P. Rand, in his individual and official capacities, and Jackson County with

prejudice and without costs to either party.

FETT & FIELDS, PC                              COHL, STOKER & TOSKEY, P.C.

By: /s/ James K. Fett                          By: /s/ Bonnie G. Toskey
  James K. Fett (P39461)                           Bonnie G. Toskey (P30601)
  Attorneys for Plaintiff                          Attorneys for Defendant

Date: June 9, 2023                             Date: June 9, 2023
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                                                           ORDER OF DISMISSAL

             Upon review of the above Stipulation of the parties, and the Court being fully

advised,

             IT IS HEREBY ORDERED that the Complaint filed by Plaintiff against

Defendants Steven P. Rand, in his individual and official capacities, and Jackson

County with prejudice and without costs to either party.

             This Order resolves the last pending claim and closes the case.

                                                                                                  s/ Linda V. Parker
                                                                                                  LINDA V. PARKER
                                                                                                  U.S. DISTRICT JUDGE
  Dated: June 9, 2023




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